Case 1:07-cr-00459-RBK    Document 34   Filed 06/21/07   Page 1 of 10 PageID: 354



                                                               [Doc. No. 28]

                  IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF NEW JERSEY
                             CAMDEN VICINAGE



 UNITED STATES OF AMERICA

 v.                                           Mag. No. 07-2050(JS)
                                              Crim. No. 07-452(JEI)
 AGRON ABDULLAHU                              Crim. No. 07-459-06 (RBK)




                 OPINION AND ORDER DENYING DEFENDANT’S
                       MOTION FOR RECONSIDERATION

      This   matter      is   before    the   Court      on    the   Motion for

Reconsideration filed by defendant Agron Abdullahu.              The Motion is

decided on the papers as defendant declined an opportunity for oral

argument.    For the reasons to be discussed Defendant’s Motion is

denied.

Background

      Since the background of this matter is set forth in detail in

this Court’s May 24, 2007 Opinion Denying Defendant’s Motion for

Release on Bail and in Support of Detention Order (hereinafter

“Opinion”), only a brief summary will be provided herein. See

United States v. Abdullahu,              F.Supp.2d            , 2007 WL 1556837

(D.N.J. 2007).     On May 7, 2007, this Court signed a Complaint and

Arrest Warrant naming defendant.         The Complaint charged defendant

with violating 18 U.S.C. §922(g)(5) and 2.            Contemporaneously with

the issuance of these documents the Court also signed five (5)
Case 1:07-cr-00459-RBK    Document 34       Filed 06/21/07   Page 2 of 10 PageID: 355



related Complaints and Arrest Warrants naming the “other charged

individuals.”       The complaints relate to an alleged conspiracy to

attack personnel at the Fort Dix Army Base. The defendant was

arrested on May 8, 2007 and an Order of Temporary Detention was

entered and in effect until defendant’s detention hearing was held

on May 17, 2007.      On that date the Court found that no condition or

combination    of    conditions   would       reasonably     assure    defendant’s

appearance and the safety of the community and entered an Order of

Detention.

      On May 30, 2007, defendant filed an “Appeal of Denial of

Bail.”     On June 6, 2007 (Crim. No. 07-452 (JEI)), the Honorable

Joseph E. Irenas, S.U.S.D.J., entered an Order denying defendant’s

appeal without prejudice because defendant did not file a Motion

for Reconsideration of his Order of Detention pursuant to L. Civ.

R. 46.1(b)(2).       On June 11, 2007, defendant filed a Motion for

Reconsideration of the June 6, 2007 Order. Judge Irenas denied the

Motion and ruled that, “Defendant should have first moved before

the Magistrate Judge for reconsideration of the denial of his bail

request before appealing to this Court.”

      On    June    15,   2007,    defendant         filed     his    Motion     for

Reconsideration of Bail with this Court.              The government filed its

reply on June 18, 2007.

Discussion

      Defendant’s Motion is governed by L. Crim. R. 1.1 which


                                        2
Case 1:07-cr-00459-RBK     Document 34       Filed 06/21/07   Page 3 of 10 PageID: 356



provides that L. Civ. R. 7.1(i) “is applicable to criminal cases

tried in the District of New Jersey.”                 See also United States v.

Curry, Crim No. 04-280(FSH), 2006 WL 1320083, at *1 (D.N.J. 2006).

A Motion under Rule 7.1(i) may be granted only if:                     (1) there has

been an intervening change in the controlling law; (2) evidence not

previously available has become available; or (3) it is necessary

to correct a clear error of law or to prevent manifest injustice.

North River Ins. Co. v. CIGNA Reinsurance Co., 52 F.3d 1194, 1218

(3d Cir. 1995); Anderson v. Correctional Med. Servs., Civ. No. 04-

3410(GEB), 2007 U.S. Dist. LEXIS 43564, at *3 (D.N.J. 2007).                          A

motion for reconsideration is an “extremely limited procedural

vehicle.”      Resorts Intern., Inc. v. Greate Bay Hotel and Casino,

Inc., 830 F. Supp. 826, 831 (D.N.J. 1992). Indeed, reconsideration

is    "an    extraordinary     remedy"   and     is    granted      “sparingly."     NL

Industries, Inc. v. Commercial Union Ins. Co., 935 F. Supp. 513,

516    (D.N.J.    1996).       The   operative        term    in    Rule    7.1(i)   is

“overlooked.”         Resorts Intern., Inc., 830 F. Supp. at 831.                    The

purpose of a motion for reconsideration is to correct errors of law

or    to    present   "newly   discovered      evidence."          Harsco    Corp.   v.

Zlotnicki, 779 F.2d 906, 909 (3rd Cir. 1985).                      A reconsideration

motion is improper when it is used “to ask the Court to rethink

what it had already thought through–-rightly or wrongly.”                       Ciba-

Geigy Corp. v Alza Corp., Civ. No. 91-5286, 1993 WL 90412, at *1

(D.N.J. 1993)(citation omitted).


                                         3
Case 1:07-cr-00459-RBK   Document 34        Filed 06/21/07   Page 4 of 10 PageID: 357



      Defendant’s Motion for Reconsideration is denied because it

does not raise any facts or law that have not                        already been

thoroughly considered and analyzed by this Court.                    The focus of

defendant’s argument is that, “[i]t cannot be stressed enough ...

that Mr. Abdullahu has only been charged with facilitating the

possession of a firearms offense and nothing else.”                  Brief at 1-2

(emphasis added).        Defendant also argues that he “has not been

charged with engaging in any terrorist activity.”                       Id. at 2.

Although defendant emphasizes these points in his Brief, the

differences in the charges against defendant in comparison to the

other charged individuals is manifestly obvious.                  Since this fact

was specifically discussed in the Court’s Opinion it could not have

been “overlooked.”       Indeed, this Court acknowledged that it was

“not alleged that defendant stated he would participate in the

actual attack [on Fort Dix].”          Abdullahu, at *2.1

      One new fact development that occurred subsequent to the

issuance of the Court’s Opinion is that defendant’s indictment did

not include any new charges that were not already identified in the

May 7, 2007 Complaint.       See U.S.A. v. Schnewer, et al., Crim No.

07-459 (RBK). Although the fact that defendant was not indicted as

of May 17, 2007 was cited in this Court’s Opinion (Abdullahu, at


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      This Court also wrote, “The charges against defendant arise
in the context of the government’s claim that the five other
charged individuals conspired to attack soldiers or other
personnel at the United States Army Base in Fort Dix, Burlington
County, New Jersey.” Id. at *2 (emphasis added).

                                        4
Case 1:07-cr-00459-RBK    Document 34         Filed 06/21/07      Page 5 of 10 PageID: 358



*9), it certainly was not a determinative factor upon which this

Court’s decision was based.             Defendant attempts to minimize the

role he allegedly played in the context of the alleged plot to

attack Fort Dix.          That is why defendant focuses on only the

specific firearms offense with which he is charged.                        However, when

it determines if bail is appropriate this Court must consider the

“nature and circumstances” of the offense charged.                         See 18 U.S.C.

§3142(g).   (“By    directing       a   Court     to     examine      the    nature    and

circumstances of the charge rather than just the charge itself,

Congress intended for courts to examine a defendant’s actions in

the context of all relevant evidence.”                    Abdullahu, at *5).            An

analysis of the entire context of defendant’s alleged conduct,

rather   than   just     the    “four   corners”       of      the   charged     offense,

provided this Court with a firm basis upon which to conclude that

defendant should be detained.           For the reasons discussed in detail

in the Opinion, the Court rejects defendant’s argument that he

simply, “facilitat[ed] the possession of a firearms offense and

nothing else.”     Brief at 1-2.

       Defendant   also        argues   the      Court      did      not    subject     the

government’s proffer to “any scrutiny in an attempt to determine

the reliability and accuracy of the accusations.”                           Brief at 2.

This   argument    is    meritless.       First,         defendant         had   an   ample

opportunity to contest the veracity of the evidence the government

proffered before, during and after his detention hearing. To date,


                                          5
Case 1:07-cr-00459-RBK    Document 34        Filed 06/21/07   Page 6 of 10 PageID: 359



the only specific challenge raised by the defendant is that there

was a typographical error in a transcript.                Not only is this error

immaterial to the issues in dispute, but this Court assumed for

purpose of its analysis that defendant was correct.                   Id. at *3 n.

2.    Second, the Court properly exercised its discretion to accept

the government’s proffer rather than requiring that live evidence

be presented.       The decision whether to require evidence by live

testimony or by proffer is within the discretion of the Court.

United States v. Delker, 757 F.2d 1390, 1395 (3d Cir. 1985).                    If a

Court is dissatisfied with a proffer, it may insist upon direct

testimony.    Id.    Moreover:

            [T]he magistrate or judge possesses adequate
            power to reconcile the competing demands of
            speed and of reliability, by selectively
            insisting   upon   the  production   of   the
            underlying evidence or evidentiary sources
            where their accuracy is in question. Through
            sensible exercise of this power of selection,
            the judicial officer can make meaningful the
            defendant’s right to cross-examine without
            unnecessarily transforming the bail hearing
            into a full-fledged trial or defendant’s
            discovery expedition.

U.S. v. Accetturo, 783 F.2d 382, 389 (3d Cir. 1986) (quoting U.S.

v. Acevedo-Ramos, 755 F.2d 203, 207-08 (1st Cir. 1985)).                     In this

Court’s view, the defendant’s general unsupported accusation that

the   government’s       evidence   is       untrustworthy      did   not    justify

requiring the government to produce extensive discovery or to

present live witnesses at the detention hearing.                  That is why this

Court wrote that it “made an independent determination of the

                                         6
Case 1:07-cr-00459-RBK    Document 34         Filed 06/21/07   Page 7 of 10 PageID: 360



reliability of the government’s proffer and determined that the

proffer was sufficiently reliable that live testimony was not

necessary.”      Abdullahu, at *3 n. 4 (citations omitted).

      Defendant’s reliance on United States v. Gatto, 729 F.Supp.

1478 (D.N.J. 1989), is misplaced.                Defendant argues Gatto stands

for   the   proposition     that,      “defendants         are    entitled    to    all

exculpatory information in the [requested] documents, including

impeachment evidence of government witnesses.” Brief at 3, quoting

Gatto, 729 F. Supp. at 1482.           However, defendant does not cite to

the portion of the Gatto decision holding that, “[b]ecause the case

is at the pretrial detention stage, and not in full discovery,

defendants    are      further   limited        in   what      materials   they     may

subpoena.”       Id. at 1481.         The Court, citing to Third Circuit

precedent, specifically noted “that a pretrial detention hearing is

not   intended    to    serve    as   a   vehicle      for     discovery     from   the

government.” Id. Furthermore, this Court’s Opinion noted that the

first time defendant requested a copy of any recording was in the

middle of the May 17, 2007 detention hearing.                    Abdullahu, at *3.

For the reasons already stated, even if defendant had requested the

production of all of the government’s videotaped activity and

recorded conversations before the detention hearing, which was not

done, the request would have been denied.                 In due course defendant

will obtain the requested evidence pursuant to the Discovery Order

entered in the case.             In addition, it is worth noting that


                                          7
Case 1:07-cr-00459-RBK   Document 34       Filed 06/21/07   Page 8 of 10 PageID: 361



defendant is not without recourse if, as he alleges, “there is

exculpatory information contained in certain of the videotaped

activity and recorded communications....” Brief at 3. Pursuant to

18 U.S.C. §3142(f)(2), the defendant has the right to reopen his

detention hearing, “if the judicial officer finds that information

exists that was not known to the movant at the time of the hearing

and that has a material bearing on the [bail] issue....”

      Moreover, it is significant that defendant does not challenge

the accuracy of his post-Miranda statement where he admitted his

role in knowingly supplying firearms and ammunition to illegal

aliens,   his   discussions   with     another      charged     defendant    about

attacking a military base, his presence during discussions about

“Jihad,” his viewing of what is described as terrorist videos, and

his participation in two trips to the Pocono Mountains with the

other charged individuals where they conducted firearms training.

The defendant’s own statements, rather than the hearsay statements

of the other charged individuals, or tape or video recordings of

defendant, was the most compelling evidence this Court relied upon

to support its finding that defendant is a risk of flight and a

danger to the community.

      Defendant does not cite to any new material facts or law that

changes this Court’s opinion that defendant presents a significant

flight risk.     This Court’s Opinion discussed in detail the fact

that plaintiff has the means, motive and opportunity to flee.                   The


                                       8
Case 1:07-cr-00459-RBK     Document 34       Filed 06/21/07    Page 9 of 10 PageID: 362



fact that defendant can now post $10,000 in cash for bail instead

of   $5,000    is    immaterial.       Defendant      argues     the    Court    should

reconsider its detention Order because he confirmed with Pretrial

Services      that   GPS   monitoring     is     available      and    this     “should

alleviate any concerns this Court had about Mr. Abdullahu somehow

evading the electronic monitoring system.”                    Brief at 3 n.2.       For

the same reasons discussed in the Court’s Opinion (Abdullahu, at

*9), the Court also rejects this argument.                    See United States v.

Anderson, 384 F.Supp.2d 32, 41 (D. Col. 2005)(denying bail because

of a concern that the defendant “could frustrate even a GPS-based

monitoring system, at least for a period of time sufficient to

allow him to flee”); United States v. Benatar, No. 02-cr-99(JG),

2002   WL   31410262,      at   *3   (E.D.N.Y.     2002)(a      GPS    system,    while

technologically sophisticated, is ultimately just another form of

electronic surveillance, and monitoring equipment can                      easily be

rendered inoperative or may become so by mechanical failure).                         A

GPS monitoring system, akin to traditional electronic monitoring,

impedes but does not eliminate a defendant’s ability to flee.




                                         9
Case 1:07-cr-00459-RBK   Document 34    Filed 06/21/07   Page 10 of 10 PageID: 363



Conclusion

      In sum, defendant’s Motion does not present any new facts or

law that this Court overlooked in its Opinion.             This Court is also

convinced that it did not make an error of law and that manifest

injustice did not result from its ruling. Accordingly, for all the

foregoing reasons, it is hereby ORDERED this 21st day of June,

2007, that defendant’s Motion for Reconsideration is DENIED.2



                                   s/Joel Schneider
                                   JOEL SCHNEIDER
                                   United States Magistrate Judge




      2
      This Court is of course aware of the allegations in the
government’s reply brief concerning the troublesome “graffiti
images defendant etched into his prison cell door, and his
manipulation of a metal light switch plate which could be used as
a weapon. Even before this evidence was available this Court
determined detention was appropriate. This newly acquired
evidence buttresses the correctness of this Court’s decision.

                                       10
